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     Bruce Locke (#177787)

     Moss & Locke
 2   4354 Town Center Blvd., #114-59
 3   Eldorado Hills, CA 95762
 4   916-719-3194
 5   Attorneys for Sharice Williams
 6                                UNITED STATES DISTRICT COURT
 7                              EASTERN DISTRICT OF CALIFORNIA
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10   UNITED STATES,
                                                No. 2:15-CR-185 TLN
11                             Plaintiff,
                                                STIPULATION AND ORDER TO
12                  v.                          CONTINUE THE DATE FOR
                                                SENTENCING FROM MAY 18, 2017 TO
13   SHARICE WILLIAMS,                          JUNE 8, 2017 AND TO MODIFY THE
                                                SCHEDULE FOR FILING OBJECTIONS
14                             Defendant.       TO THE PRE-SENTENCE REPORT
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20          IT IS HEREBY STIPULATED AND AGREED between the defendant, by and through

21   her undersigned defense counsel, and the United States of America, by and through its counsel,

22   Assistant U.S. Attorney Roger Yang, that the date for sentencing shall be continued from May 18,

23   2017 to June 8, 2017 at 9:30 a.m., and the schedule for filing objections to the Pre-Sentence

24   Report shall be modified so that (1) counsel’s written objections to the Pre-Sentence Report shall

25   be delivered to the Probation Officer and opposing counsel no later than May 11, 2017; (2) the

26   Pre-Sentence Report shall be filed with the court and disclosed to counsel no later than May 18,

27   2017; (3) the Motion for Correction of the Pre-Sentence Report shall be filed with the Court and

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     served on the Probation Officer and opposing counsel no later than May 25, 2017; and (4) the

     Reply or statement of non-opposition shall be filed no later than June 1, 2017.
 2           Mr. Yang has authorized Mr. Locke to sign this pleading for him.

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     Date: April 26, 2017                                 /s/ Bruce Locke
 4                                                        BRUCE LOCKE
                                                          Attorney for Sharice Williams
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 6

 7   Date: April 26, 2017                                 /s/ Bruce Locke
                                                          For ROGER YANG
 8                                                        Assistant United States Attorney
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            IT IS SO ORDERED.
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     Dated: April 27, 2017
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13                                                        Troy L. Nunley
14                                                        United States District Judge

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